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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

ERIN O’CALLAGHAN, et al.,                    )
                                             )
               Plaintiffs,                   )
                                             )
       v.                                    )       Case No. 19-cv-06271
                                             )
UNIVERSITY OF ILLINOIS AT                    )       Hon. John J. Tharp, Jr.
CHICAGO, et al.                              )       Hon. M. David Weisman
                                             )
               Defendants.                   )

                                  JOINT STATUS REPORT

       Pursuant to the Court’s March 8, 2022 Order, ECF No. 85, the parties submit this Joint
Status Report, addressing the Court’s inquiries.

1.     Whether University of Iowa has agreed to accept service on behalf of Dr. Wilson and
       if parties are aware whether Dr. Wilson will sit for a deposition or pursue other
       options

        Plaintiffs personally served Dr. Wilson with a subpoena, and she has informed counsel for
Defendant Board of Trustees that she is out of town this week. Counsel for Defendant Board of
Trustees relayed this message to all parties and also stated that they do not represent Dr. Wilson
as of yet. The parties have reserved April 19, 2022 as a possible deposition date, and Dr. Wilson
has been emailed and reserved via certified mail to both her home and office with a subpoena for
that date.

2.     An explanation as to whether the parties have resolved issues regarding the 30(b)(6)
       witness depositions over which the parties continue to have disagreement, and if
       motion practice is necessary, a proposed schedule for said motions

        Defendant Board of Trustees presented a Rule 30(b)(6) witness on four of the nine topics
that Plaintiffs noticed (Topics 1, 2, 3, and 7), and that Rule 30(b)(6) deposition was completed on
March 14, 2022. The parties have reached agreement concerning Topics 5 and 6, and Defendant
Board of Trustees will be designating a witness for an April deposition. The parties are conferring
regarding Topics 8 and 9 and will likely reach agreement on that issue.

       Topic 4 is the only outstanding topic that will need court intervention. Plaintiffs have
requested that Defendant Board of Trustees present someone who can testify as to all Title IX
complaints against all professors at University of Illinois. Defendant Board of Trustees objects to
the scope of this topic. Parties suggest the following briefing schedule:
       - Defendant Board of Trustees to file opening motion by April 5



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       - Plaintiffs to respond by April 19
       - Defendant Board of Trustees to reply by April 26

3.     Parties' positions as to the type of motions and nature of relief that may be brought
       based on the issues that occurred during plaintiffs' deposition, including a proposed
       motion schedule for the same

       Defendants are filing sanctions motions on March 18, 2022. Plaintiffs request until April
8, 2022 to respond, and Defendants request until April 15, 2022 to reply.



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                                   CERTIFICATE OF SERVICE

        I hereby certify that on March 18, 2022 I electronically filed the foregoing document with

the Clerk of the Court using the Court’s CM/ECF system, which will send notification of such

filing to all counsel of record.



Dated: March 18, 2022                                       /s/ Julie Porter




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